         Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 1 of 13




                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                     ENTERED
                                                                           11/12/2019
                             HOUSTON DIVISION


In re:                                      Chapter 11

SOUTHERN FOODS GROUP, LLC,                  Case No. 19-36313 (DRJ)

              Debtor.

Tax I.D. No. XX-XXXXXXX

In re:
                                            Chapter 11
DEAN FOODS COMPANY,
                                            Case No. 19-36314 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX

In re:
                                            Chapter 11
ALTA-DENA CERTIFIED DAIRY, LLC,
                                            Case No. 19-36315 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                            Chapter 11
BERKELEY FARMS, LLC,
                                            Case No. 19-3632 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX
         Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 2 of 13




In re:
                                             Chapter 11
CASCADE EQUITY REALTY, LLC,
                                             Case No. 19-36323 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
COUNTRY FRESH, LLC,
                                             Case No. 19-36329 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DAIRY INFORMATION SYSTEMS
HOLDINGS, LLC,                               Case No. 19-36337 (DRJ)

              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DAIRY INFORMATION SYSTEMS, LLC,
                                             Case No. 19-36340 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DEAN DAIRY HOLDINGS, LLC,
                                             Case No. 19-36344 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX




                                       -2-
         Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 3 of 13




In re:
                                             Chapter 11
DEAN EAST II, LLC,
                                             Case No. 19-36346 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DEAN EAST, LLC,
                                             Case No. 19-36347 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DEAN FOODS NORTH CENTRAL, LLC,
                                             Case No. 19-36348 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DEAN FOODS OF WISCONSIN, LLC,
                                             Case No. 19-36351 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DEAN HOLDING COMPANY,
                                             Case No. 19-36354 (DRJ)
              Debtor.

Tax I.D. No. 39-031839




                                       -3-
         Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 4 of 13




In re:
                                             Chapter 11
DEAN INTELLECTUAL PROPERTY
SERVICES II, INC.,                           Case No. 19-36355 (DRJ)

              Debtor.

Tax I.D. No. 05-053351

In re:
                                             Chapter 11
DEAN INTERNATIONAL HOLDING
COMPANY,                                     Case No. 19-36316 (DRJ)

              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DEAN MANAGEMENT, LLC,
                                             Case No. 19-36317 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DEAN PUERTO RICO HOLDINGS, LLC,
                                             Case No. 19-36318 (DRJ)
              Debtor.

Tax I.D. No. 75-256683


In re:
                                             Chapter 11
DEAN SERVICES, LLC,
                                             Case No. 19-36321 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX




                                       -4-
         Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 5 of 13




In re:
                                             Chapter 11
DEAN TRANSPORTATION, INC.,
                                             Case No. 19-36324 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DEAN WEST II, LLC,
                                             Case No. 19-36325 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DEAN WEST, LLC,
                                             Case No. 19-36326 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DFC AVIATION SERVICES, LLC,
                                             Case No. 19-36327 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DFC ENERGY PARTNERS, LLC,
                                             Case No. 19-36328 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX




                                       -5-
         Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 6 of 13




In re:
                                             Chapter 11
DFC VENTURES, LLC,
                                             Case No. 19-36330 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DGI VENTURES, INC.,
                                             Case No. 19-36332 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
DIPS LIMITED PARTNER II,
                                             Case No. 19-36333 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
FRANKLIN HOLDINGS, INC.,
                                             Case No. 19-36335 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
FRESH DAIRY DELIVERY, LLC,
                                             Case No. 19-36336 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX




                                       -6-
         Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 7 of 13




In re:
                                             Chapter 11
FRIENDLY’S ICE CREAM HOLDINGS
CORP.,                                       Case No. 19-36319 (DRJ)

              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
FRIENDLY’S MANUFACTURING AND
RETAIL, LLC,                                 Case No. 19-36322 (DRJ)

              Debtor.

Tax I.D. No. XX-XXXXXXX

In re:
                                             Chapter 11
GARELICK FARMS, LLC,
                                             Case No. 19-36331 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
MAYFIELD DAIRY FARMS, LLC,
                                             Case No. 19-36334 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
MIDWEST ICE CREAM COMPANY, LLC,
                                             Case No. 19-36338 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX




                                       -7-
         Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 8 of 13




In re:
                                             Chapter 11
MODEL DAIRY, LLC,
                                             Case No. 19-36339 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
REITER DAIRY, LLC,
                                             Case No. 19-36341 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
SAMPSON VENTURES, LLC,
                                             Case No. 19-36342 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
SHENANDOAH’S PRIDE, LLC,
                                             Case No. 19-36343 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
STEVE’S ICE CREAM, LLC,
                                             Case No. 19-36345 (DRJ)
              Debtor.

Tax I.D. No. XX-XXXXXXX




                                       -8-
          Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 9 of 13




In re:
                                              Chapter 11
SUIZA DAIRY GROUP, LLC,
                                              Case No. 19-36349 (DRJ)
               Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
TUSCAN/LEHIGH DAIRIES, INC.,
                                              Case No. 19-36350 (DRJ)
               Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
UNCLE MATT’S ORGANIC, INC.,
                                              Case No. 19-36352 (DRJ)
               Debtor.

Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
VERIFINE DAIRY PRODUCTS OF
SHEBOYGAN, LLC,                               Case No. 19-36353 (DRJ)

               Debtor.

Tax I.D. No. XX-XXXXXXX




         ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES
                            [RELATES TO DKT. NO. 2]




                                        -9-
          Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 10 of 13



       On the motion1 for joint administration of these cases under Bankruptcy Rule 1015, the
Court orders that the above referenced cases are jointly administered. Additionally, the
following checked items are ordered:

1. ____X_____ One disclosure statement and plan of reorganization may be filed for all cases
              by any plan proponent.

2. ____X_____ All of the jointly administered cases not previously assigned to Judge David R.
              Jones are transferred to Judge David R. Jones.

3. ____X_____ Parties may request joint hearings on matters pending in any of the jointly
              administered cases.

4. ____X_____ Other: See below.

          IT IS FURTHER ORDERED THAT:

          1.         The Chapter 11 Cases are consolidated for procedural purposes only and shall be

jointly administered by the Court under the case number assigned to Southern Foods Group,

LLC, Case No. 19-36313 (DRJ).

          2.         Nothing contained in this Order shall be deemed or construed as directing or

otherwise affecting the substantive consolidation of any of the Chapter 11 Cases, the Debtors, or

the Debtors’ estates.

          3.         The caption of the jointly administered Chapter 11 Cases shall read as follows:




          1
              Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion.



                                                         -10-
         Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 11 of 13



                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

_________________________________________
                                          )
In re:                                    )                          Chapter 11
                                          )
SOUTHERN FOODS GROUP, LLC, et al.,        )                          Case No. 19-36313 (DRJ)
                                          )
            Debtors. 1                    )                          (Jointly Administered)
                                          )
_________________________________________ )
1
          The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.

        4.       A docket entry shall be entered on the docket in each of the Chapter 11 Cases

(other than the Chapter 11 Case of Southern Foods Group, LLC) substantially as follows:

        An order has been entered in this case in accordance with Rule 1015(b) of the
        Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the Bankruptcy Local
        Rules for the United States Bankruptcy Court for the Southern District of Texas
        directing the joint administration of this case solely for procedural purposes with
        the chapter 11 cases of Southern Foods Group, LLC; Dean Foods Company; Alta-
        Dena Certified Dairy, LLC; Berkeley Farms, LLC; Cascade Equity Realty, LLC;
        Country Fresh, LLC; Dairy Information Systems Holdings, LLC; Dairy
        Information Systems, LLC; Dean Dairy Holdings, LLC; Dean East II, LLC; Dean
        East, LLC; Dean Foods North Central, LLC; Dean Foods of Wisconsin, LLC;
        Dean Holding Company; Dean Intellectual Property Services II, Inc.; Dean
        International Holding Company; Dean Management, LLC; Dean Puerto Rico
        Holdings, LLC; Dean Services, LLC; Dean Transportation, Inc.; Dean West II,
        LLC; Dean West, LLC; DFC Aviation Services, LLC; DFC Energy Partners,
        LLC; DFC Ventures, LLC; DGI Ventures, Inc.; DIPS Limited Partner II; Franklin


                                                       -11-
          Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 12 of 13



         Holdings, Inc.; Fresh Dairy Delivery, LLC; Friendly’s Ice Cream Holdings Corp.;
         Friendly’s Manufacturing and Retail, LLC; Garelick Farms, LLC; Mayfield Dairy
         Farms, LLC; Midwest Ice Cream Company, LLC; Model Dairy, LLC; Reiter
         Dairy, LLC; Sampson Ventures, LLC; Shenandoah’s Pride, LLC; Steve’s Ice
         Cream, LLC; Suiza Dairy Group, LLC; Tuscan/Lehigh Dairies, Inc.; Uncle Matt’s
         Organic, Inc.; and Verifine Dairy Products of Sheboygan, LLC. All further
         pleadings and other papers shall be filed in and all further docket entries
         shall be made in Case No. 19-36313 (DRJ).

         5.     The requirement of section 342(c)(1) of the Bankruptcy Code and Bankruptcy

Rule 2002(n) for the inclusion of the Debtors’ full tax identification numbers in the captions for

Debtors’ filings with the Court and notices sent to creditors is waived.

         6.     The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of Texas shall keep, one consolidated docket, one file, and one

consolidated service list for the Chapter 11 Cases.

         7.     The Debtors may file monthly operating reports and post-effective date quarterly

operating reports on a consolidated basis for the jointly-administered Debtors; provided,

however, that income and disbursements shall be tracked and broken out on a Debtor-by-Debtor

basis.

         8.     Any creditor filing a proof of claim against any of the Debtors shall clearly assert

such claim against the particular Debtor obligated on the claim and not against the jointly-

administered Debtors, except as otherwise provided in any other order of this Court.

         9.     Under the circumstances of the Chapter 11 Cases, notice of the Motion is

adequate under Bankruptcy Rule 6004(a).

         10.    The requirements of Bankruptcy Rule 6003 are satisfied by the contents of the

Motion.

         11.    Notwithstanding anything to the contrary in this Order, in the event of any

inconsistency between the terms of this Order and the terms of (i) any order of this Court



                                                -12-
        Case 19-36344 Document 2 Filed in TXSB on 11/12/19 Page 13 of 13



approving the debtor-in-possession financing facility and use of cash collateral (the “DIP

Order”), including, without limitation, any budget in connection therewith, or (ii) any order

approving the Debtors’ continued performance under their securitization facility (the

“Securitization Order”), the terms of the DIP Order or the Securitization Order, as applicable,

shall govern.

       12.      Any Bankruptcy Rule (including, but not limited to, Bankruptcy Rule 6004(h)) or

Local Rule that might otherwise delay the effectiveness of this Order is hereby waived, and the

terms and conditions of this Order shall be effective and enforceable immediately upon its entry.

       13.      The Debtors are authorized to take all such actions as are necessary or appropriate

to implement the terms of this Order.

       14.      The Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, and enforcement of this Order.



      Signed: November 12, 2019.
Dated: ___________________, 2019
Houston, Texas                                     ____________________________________
                                                   DAVID R. JONES
                                                   UNITED STATES BANKRUPTCY JUDGE
                                                      UNITED STATES BANKRUPTCY JUDGE




                                               -13-
